

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. 1748-07






JUAN JOSE SALDIERNA, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE SECOND COURT OF APPEALS


 TARRANT COUNTY





		Per curiam.  Keasler, and Hervey, J.J., dissent.


O R D E R 



	The petition for discretionary review violates Rule of Appellate Procedure 9.3 and
68.4(1) because the original petition is not accompanied by 11 copies and does not
contain a copy of the opinion of the court of appeals.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition must be filed in the
Court of Appeals within thirty days after the date of this order.

En banc.

Delivered April 23, 2008

Do Not Publish.



